Case 1:24-mj-02527-LFL Document 1 Entered on FLSD Docket 03/18/2024 Page 1 of 6




                              UN ITED STATES DISTRICT CO URT
                              SO UTH ER N DISTRICT OF FLO RIDA
                              CASE NO. 1:24-144j-02527Louis

  UN ITED STA TES O F A M ER ICA

  V.


  ALEXANDER FERNANDEA
          D efendant.


                                   CRIM IN AL CO VER SH EET

       1. D id thism atleroriginate from a m atterpending in theN othern Region oftheUnited States
          Attorney'sOfficepriortoAugust8,2014(M ag.JudgeShaniekM .Maynard)? No
       2. D id thism atteroriginate from a m atterpending in the CentralRegion ofthe United States
          Attorney'sOfficepriortoOctober3,2019(Mag.JudgeJaredM .Strauss)? No
       3. Did thismatterinvolvetheyarticipation oforconsultation with now Magistrate Judge .
          Eduardo 1.Sanchez during hlstenure atthe U .S.A ttorney's Office,w hich concluded on
          January 22,2023? N o

       4. D id this m atter involve the participation of or consultation now M agistrate Judge M arta
          Fulgueira Elfenbein during hertenure atthe U .S.Attorney's Office,w hich concluded on
          M arch 5,2024? N e  -




                                                       Respectfully subm itted,

                                                       M ARKEN ZY LAPOINTE
                                                       UN ITED STA TES ATTORN EY


                                                By: fs/Aisha D hafer Hylton
                                                    AISHA SCHA FER HY LTON
                                                    SpecialA ssistantU nited StatesA ttorney
                                                       Coul'tID N o.A 5503133
                                                       99 N .E.4th Street
                                                       M iam i,FL 33132
                                                        Tel.No.(202)365-4660
                                                        E-mail:aschaferhylton@ usa.doj.gov
    Case 1:24-mj-02527-LFL Document 1 Entered on FLSD Docket 03/18/2024 Page 2 of 6


AO 91(Retr.08/09)Crinzir
                       lalComplaint

                                    U M TED STATES D ISTRICT C OURT
                                                                   forthe
                                                        Southelu DistlictofFlorida

                Ullited StatesofAmerica
                              V.
                                                                               CaseNo. 1:24-111
                                                                                              J*-02527 Louis
              ALEXANDER FERNANDEZ,


                         2)cfelldallt(îJ
         CRLYHNAL CONIPLAN                   BY TELEPH ONE OR OTHER RELIABLE ELECTRONIC SIEANS

         1,the conlplainantin thiscase,statethatthefollowing istnleto thebestofmy knowledgeandbelief.
O11orabouttheclatets)of                      March 16,2024                     inthecotlllty Of             Miami-Dade               illthe
     southern         Distlictof                 Florida
                                                    -      -    -   .   thedefendantts)violated:
            Codes'
                 cc/jtw;                                                          O.Fe??
                                                                                       .$cDescl'l
                                                                                                ption
 8U.S.C.j1324(a)(l)(A)(iv)                               EncouragingorInducinganAlientoEntertheUlûted States




          Thiscrilninalcolnplaintisbased on these facts:
         SEE ATTACHED AFFIDAVIT.




          W continuedontheattachedsheet.


                                                                                                   Lz'
                                                                                                     t/ntl
                                                                                                         j?ltïl
                                                                                                              -lltlllt'ë
                                                                                                                       7.
                                                                                                                        %l
                                                                                                                         LL
                                                                                                                          ;' J/7-
                                                                                                                                tr
                                                                                              NeilJames S c' IA entHSI
                                                                                                    Pri'trcJ 7TI?? TI?1(?titl't


 AttestedtobytlleApplicallti11aCCOIdancewiththerequiremellts0fFCd.R.CIin1.P. .1by Face Tilne
                                             '




 Date: M arch 18 2024                                                                     -
                                                                                                       Jbtdge-a'si-
                                                                                                                  v'atlll'e

 Cityandstate:                             Miami,Fl
                                                  orida                           Honorable Lauren F.Loul
                                                                                                        s,UnitedStatesMagistrateJudge
                                                                                                    #?-
                                                                                                      f?ltL
                                                                                                          ttl??t1?';Ertl'tfftiîlt,
Case 1:24-mj-02527-LFL Document 1 Entered on FLSD Docket 03/18/2024 Page 3 of 6




                  AFFIDAW T IN SUPPOR T OF CR IM IN AL CO M PLA INT

         1,N eilS.Jam es,being firstduly sw orn,do hereby depose and statethe following:

                                        IN TR O DU CTIO N

                 l am presently em ployed as a SpecialA gent w ith the U nited States H om eland

  Securitylnvestigation (($HS1''),whereIhaveworkedsinceNovember20,2022.1am assignedas
  a sw orn law enforcem entofficerto the H SIK ey Largo office.ln thatcapacity,m y duties include

  investigating federalcrim inaloffenses in the Southern DistrictofFlorida.During m y tenure as a

  Special Agent, 1 have com pleted approxim ately 490 hours of instruction at the Federal Law

  EnforcementTraining Centerin Glynco,Georgia(CIFLETC'').Priorto my tenure asaSpecial
  Agent,1wasaUnited StatesCustomsandBorderProtection ($(CBP'')officerforfouryearsat
  M iam iInternationalA irpolt whereIprepared casesforim m igration proceedings,aswellasselwed

  m ultiple arrestwarrants. Ialso w astasked w ith determ ining the law fulnessoftravelers'entry into

  theUnitedStates.PriortomytenureasaCBPofficer,lwasaUnitedStatesBorderPatrol((%P'')
  agentfor alm ostthree years,w here 1 executed search and arrestwarrants and m ade w arrantless

  arrests in accordance w ith federallaw .
          2.     The statem ents contained in this Affidavit are based upon m y ow n personal

  know ledge gathered during m y participation in this investigation, m y previous training and

  experience, other law enforcem ent officers and agents who have engaged in num erous

  investigations involving the transportation of m igrantsw ho are unlaw fully presentin the United

  States,and upon factsand inform ation from agentsand interview s.BecausethisA ffidavitisbeing

  subm itted forthe lim ited purpose ofestablishing probable cause for a crim inalcom plaint,1have

  notincluded each and every factknow n to m e orlaw enforcem entin this investigation. 1have set

   forth only the factsthatIbelieve are necessary to establish probable cause.
Case 1:24-mj-02527-LFL Document 1 Entered on FLSD Docket 03/18/2024 Page 4 of 6




                  subm it this A ffidavit in supportof a crim inal complaint charging A lexander

  FERNANDEZ(CCFERNANDEZ'')withencouragingandinducingalienstoentertheUnitedStates,
  inviolationofTitle8,UnitedStatesCode,Section 1324(a)(1)(A)(iv).
                                     PR OBM LE CA USE

                On oraboutM arch l6,2024,atapproxim ately 9:00 pm ,SpecialA gentsfrom HS1

  Key Largo received inform ation abouta suspected hum an sm uggling vesseltraveling from the

  Baham as towardsM iam i,Florida.W hile conducting a routine patrolin or around Key Biscaynes

  Florida,aCBPAirM arineOperations($(AMO'')vessel(the(ILAW ENFORCEM ENTVESSEL'')
  identifiedthesuspectedhumansmugglingvessel(the(CSUSPECT VESSEL'')throughthePalm
  BeachSheriff'sOffice's(((PBSO'')land-basedradarsystem.W henCBPAM O firstidentifiedthe
  SU SPECT VESSEL,itwas located approxim ately 25 nauticalm iles eastofElliotKey,Florida,

  and w astraveling w estbound tow ardsM iam i,Florida.

                The LA W EN FO RCEM ENT V ESSEL continued to m onitor the SU SPECT

  V ESSEL through its own onboard radar system as the SUSPECT V ESSEL traveled w estbound

  tow ards M iam i, Florida. The LAW EN FORCEM EN T VESSEL m onitored the SU SPECT

  V ESSEL through itsown onboard radarsystem asthe SU SPECT V ESSEL entered the territorial

  waters ofthe U nited States. The LA W EN FORCM EN T VESSEL then m oved into position to

  interceptthe SU SPECT V ESSEL.

                On or about M arch l6, 2024, at approxim ately l1:25 p.m ., the LA W

  EN FORCEM ENT V ESSEL intercepted the SU SPECT VESSEL approxim ately 10 nauticalm iles

  east of Cesar's Creek,Florida.The LA W EN FORCEM EN T VESSEL activated its navigation

  lights,spotlights,and spreaderlightsto getthe attention ofthe operatorofthe SU SPECT VESSEL.

  Law enforcem entinstructed the operatorto stop the SU SPECT VESSEL. The operatorcom plied
Case 1:24-mj-02527-LFL Document 1 Entered on FLSD Docket 03/18/2024 Page 5 of 6




  w ith law enforcem ent's instruction and stopped the boat and surrendered. A s the LA W

  EN FORCEM EN T VESSEL m oved closer tow ard the SU SPECT VESSEL, law enforcem ent

  observed one (1) operator behind the helm, whom law enforcement later identified as
  FERN AN DEZ. In addition,law enforcem entobserved m ultiple people sitting and laying dow n

  on the deck ofthe SUSPECT VESSEL. Law enforcem entconducted a registration check ofthe

  SU SPECT VESSEL'S registration num ber,FL71l7GA ,and found thatthe SU SPECT VESSEL

  w asregistered to J.C.P.

                Law enforcementofficersdiscoveredatotaloftsfteen(15)individualsonboardthe
  SUPSECT VESSEL,including FERN AN DEZ. Law enforcem entconducted a records checkson

  the Florida driver's license in FERN AN DEZ'S possession thatconfirm ed him to be a citizen of

  the United States.Additionally,1aw enforcementfound thatnone ofthe otherfourteen (14)
  individualsonboard the SUSPECT VESSEL possessed visasorotherdocum entsthatw ould allow

  them to legally enterthe United States.

         8.      FERNANDEZ wastransferredtotheUnitedStatesCoastGuard(ICUSCG'')Cutter
  FLYIN G FISH and the otherindividualswere transferred to the USCG CutterISAA C M AY O for

  biom etric checksand identification purposes.Law enforcem entconfirm ed through recordschecks

  thatnoneofthefourteen (14)otherindividualshad documentation orpending applicationsthat
  w ould allow them to lawfully enterthe U nited States.

                 A review ofthe SU SPECT VESSEL'S onboard globalpositioning system show s

   that itdeparted from or around M iam i,Florida earlier in the day on M arch.16,2024,traveled

   toward asm allislandnearGun Cay,Baham as,and w asheading tow ardsK ey Largo,Florida,w hen

   itwas interdicted by the LA W EN FORCEM EN T VESSEL.There isno designated po14 ofentry

   in the vicinity ofKey Largo,Florida.

                                                 3
Case 1:24-mj-02527-LFL Document 1 Entered on FLSD Docket 03/18/2024 Page 6 of 6




                On M arch 17,2024,FERNAN DEZ wasbroughtashorèattheU SCG BaSein M iam i

  Beach,Florida.

                                            CO NC LUSION

                Based on the foregoing facts,youraffiantrespectfully subm itsthatthere isprobable

  causeto believethatA lexanderFERN AN DEZ encouraged and induced aliensto enterthe United

  States,inviolationofTitle8,United StatesCode,Section1324(a)(1)(A)(iv).
         FUR TH ER AFFIANT SA YETH NA UG H T.




                                             N EIL S.JA M ES
                                             SPECIAL A GEN T
                                             HOM ELAN D SECURITY             ESTIGA TION S


  Atlested to by the applicantin accordance w ith the requirem entsofFed.R.Crim .P.4.1
  by FaceTim e this 18 day ofM arch 2024.




  H ON ORABLE LA UREN F.LOU IS
  UNITED STATES M A GISTRATE JUDGE
  SO UTHERN D ISTRICT O F FLORIDA




                                                 4
